            Case 3:14-cr-02915-BEN                       Document 96                 Filed 05/06/15            PageID.381              Page 1 of 2

                                                                                                                                     FILED
     ~o 2458 (CASD) (Rev. 12/11) Judgment in a Criminal Case
               Sheet I
                                                                                                                                     MAY 06 2015
                                                                                                                              CLel'!K US DISTRICT
                                              UNITED STATES DISTRICT COURT :$'lTHERNDiSTRICTOF2~L'i%RNIA
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                                                         DEPUTY

                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                        v.                                           (For Offenses Committed On or After November I, 1987)

                      JORGE GARCIA-CHAVEZ (2)                                        Case Number: l4CR2915-BEN
                                                                                     FD BY NICOLE GABRIELLE SAPERSTEIN
                                                                                     Defendant's Attorney
    REGISTRATION NO. 48282298

    D
    THE DEFENDANT:
    181 pleaded guilty to count(s) Is OF THE SUPERSEDING INFORMATION.

    D was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involvc the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature of Offense                                                                              Number!s)
18USC4                                MISPRISION OF FELONY (FELONY)                                                                               Is




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 19114.
 D The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 181 Count(,) UNDERLYING INDICTMENT                                                   is [8J     areD dismissed on the motion of the United States.
 181 Assessment: $100.00 WAIVED.

 181 Fine waived                                    D Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name. residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant' economic circumstances.




                                                                              UNITED ST TES DISTRICT JUDGE

                                                                                                                                               1~CR2915-BEN
            Case 3:14-cr-02915-BEN                       Document 96              Filed 05/06/15         PageID.382               Page 2 of 2
"

    AO 2458 (CASD) (Rev. 121t I) Judgment in a Criminal Case
               Sheet 2 - Imprisonment
                                                                                                         Judgment -   Page   _--,,-2_   of     2
     DEFENDANT: JORGE GARCIA-CHAVEZ (2)
     CASE NUMBER: 14CR2915-BEN
                                                                    IMPRISONMENT
             The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for 0 term of
             EIGHTEEN (\8) MONTHS,



          o Sentence imposed pursuant to Title 8 USC Section 1326(b),
          o  The court makes the following recommendations to the Bureau of Prisons:




          o The defendant is remanded to the custody of the United States Marshal.
          o The defendant shall surrender to the United States Marshal for this district:
               Oat                                      Oo,m.          Op.m.      on _ _ _ _ _ _ _ _ _ __

                   as notified by the United States Marshal.

          o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             o before --------------------------------------------------
             o as notified by the United States Marshal.
             o     as notified by the Probation or Pretrial Services Office.


                                                                          RETURN

     I have executed this judgment as follows:

             Defendant delivered on                                                          to

     at                                                        with a certified copy ofthis judgment.


                                                                                                        UNITED STATES MARSHAL


                                                                                By _______~~~~~~~~~-------
                                                                                                   DEPUTY UNITED STATES MARSHAL




                                                                                                                                        14CR2915-BEN
